                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


 VOICES.COM INC.,

                        Plaintiff,                     Case No.:20-cv-292
                        v.

 MEDIAZAM LLC,
                                                       JURY TRIAL DEMANDED
                        Defendant.


    COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT
                     AND PATENT INVALIDITY


        Plaintiff Voices.com Inc. ("Voices.com"), by and through its undersigned counsel, files

 this Complaint for Declaratory Judgement of non-infringement and patent invalidity of U.S.

 Patent No. 7,421,391 against Defendant MediaZam LLC ("MediaZam"), alleging as follows.


                                     NATURE OF ACTION

       1.      This is an action under 28 U.S.C. § 2201(a) for a declaratory judgment of non-

infringement of, and invalidity of, U.S. Patent No. 7,421,391 ("'391 Patent") (attached hereto as

Exhibit A).

                                            THE PARTIES

       2.      Voices.com is a Canadian corporation having its principal place of business at

100 Dundas St., Suite 700, London, ON N6A 5B6.

       3.      On information and belief, MediaZam is a Wisconsin corporation, doing business

in the voiceover industry, with its principal place of business at 1780 Limerick Ln., Brookfield,

WI 53045.

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                                     JURISDICTION AND VENUE

       4.      This Complaint arises under the Patent Laws of the United States, 35 U.S.C. §

100 et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, based upon an

actual controversy between the parties for a declaration that Voices.com does not infringe the

’391 Patent and that the ’391 Patent is invalid.

       5.      This Court has jurisdiction over Voices.com’s declaratory judgment claims

pursuant to 28 U.S.C. §§ 2201 et seq., based on MediaZam’s threats to sue Voices.com for patent

infringement, thereby giving rise to an actual case or controversy under 28 U.S.C. §§ 2201 and

2202. The Court also has jurisdiction under 28 U.S.C. §§ 1331, 1332, and 1338.

       6.      A substantial controversy of sufficient immediacy and reality exists between the

parties to warrant the issuance of a declaratory judgment because MediaZam has asserted to

Voices.com that Voices.com directly infringes the ’391 Patent through, inter alia, Voices.com’s

operation of its website located at http://www.voices.com, which provides online marketplace

services for voiceover talent. These online marketplace services include search functionalities to

locate voiceover talent as well as audition functionality permitting custom talent auditions, and

engagement and payment functionality used when auditions are successful. Voices.com has

consistently denied infringement of the ’391 Patent. In the last correspondence, MediaZam’s

counsel indicated that “[i]f we cannot engage in reasonable discussions toward a mutually

acceptable license, MediaZam is prepared to proceed with litigation.” (attached hereto as Exhibit

B).

       7.      This Court has personal jurisdiction over MediaZam because it resides in and/or

has a regular and established place of business in this District.



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        8.          Venue is proper in this District and before this Court under 28 U.S.C. §§ 1391(b)

and (c) because, in part, MediaZam resides and/or has a regular and established place of business

in this District.

                                                PATENT IN SUIT

        9.          On the face of the ’391 Patent entitled “System and Method for Voice-Over Asset

Management, Search and Presentation”, it is indicated that it was issued by the United States

Patent and Trademark Office on September 2, 2008.

        10.         According to the records at the United States Patent and Trademark Office,

MediaZam is the assignee of the ’391 Patent.

                                          FACTUAL BACKGROUND

        11.         Voices.com is an online marketplace connecting those in need of voiceover talent

with voice talent. Its customers include voice talent, talent agencies on the supply side, and

business clients, such as Hulu, GoDaddy, The History Channel, The Discovery Channel,

Microsoft, Cisco, and Lumosity on the demand side of the marketplace.

        12.         Voice talent is required for multiple purposes, including voices for radio

advertisements, voice-overs for television or other video content, audio books, et cetera.

        13.         Typically, voice talent is retained on a per-job or per-project basis. This means

that each project requires a search for voice talent having desired qualities.

        14.         The traditional business model for searching for voice talent involved a business

obtaining voice talent "demo reels" and listening to the demonstration reels. A "demo reel" is a

collection of sample script reads provided by a voice talent artist in one consecutive audio

recording. The demo reels were provided as audio CDs or cassette tapes. Listening to demo

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reels was time consuming and inconvenient for the businesses. Additionally, the material on the

demo reels often would be completely irrelevant to a business' specific voice talent needs.

       15.       In the early 2000's, services began hosting voice talent demo reels online. This

removed the burden of distributing physical media, but did not reduce the burden of having to

search for talent by listening to numerous lengthy demo reels of likely irrelevant content.

       16.       On February 18, 2004, Interactive Voices, a predecessor to Voices.com launched

and the first memberships were purchased by voice talent who could subscribe to the website

allowing voice talent to have a profile with voice demos as well as gaining access to job

opportunities.

       17.       On April 19, 2004, Interactive Voices, a predecessor to Voices.com, released the

following press release:

       Interactive Voices, the leading provider of voice production services, today
       announced the completion of the Interactive Voice Network. Interactive Voices is a
       trusted neutral party that connects business clients with voice-over talents.

       “Voice is the most effective method to communicate a message,” said David
       Ciccarelli, CEO of Interactive Voices.

       “We make it easy for companies to post a project. Voice talents are instantly notified
       and respond with voice-over demos, a personal message and price quote.” Ciccarelli
       added.

(attached as Exhibit C). By enabling businesses to post a project, which notifies voice talent to

submit auditions to the project online, Mr. Ciccarelli, the current CEO of Voices.com, and

Voices.com turned the voice talent search model on its head. No longer were businesses

confined to listening to lengthy demonstration reels of largely irrelevant content to search for

voice talent. Indeed, businesses no longer had to search at all. The talent would come to the

businesses, with a custom reading of text specified by the business in the project posting.


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          18.   Building on the innovations of Interactive Voices, Voices.com launched a

rebranded website in May 2006. Despite Voices.com having been in business for several years

before the issuance of the '391 Patent in 2008, no notice of the ’391 Patent's issuance was

provided to Voices.com at that time, either by MediaZam or by its predecessor in interest to the

’391 Patent, ZamTech LLC. Indeed, Voices.com continued to conduct business and continued to

grow for more than a decade before MediaZam or ZamTech LLC provided notice of the ’391

Patent.

          19.   Voices.com is now the world's leading provider of online marketplace services for

connecting businesses with professional voice talent, having more than 50% of the market.

Voices.com achieved this remarkable feat not by following the previously-known business

models, but by rejecting them.

          20.   Upending the traditional model, Voices.com established an online service where

businesses could post voice-over opportunities ("projects"), and invite voice talent to submit

custom auditions. Such projects include a sample portion of text of the intended complete voice

recording for the project. This enables businesses to listen to custom auditions using the actual

text of the intended recording submitted by multiple voice talents, rather than lengthy demo reels

and/or audio reads extracted from those demo reels, which are often entirely unrelated to the

subject matter of the project.

          21.   On information and belief, on September 7, 2004, U.S. Patent Application No.

10/935,548 (“the ’548 Application”) was filed. The ’548 Application issued as the ’391 Patent.

          22.   The ’548 Application disclosed and claimed a system that would arrange demo

reels comprising multiple reads (voice samples) into individual "audio reads." On February 21,

2008, the examiner for the ’548 Application issued a rejection for all of the claims of the ’548

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Application as either being anticipated or rendered obvious in view of the prior art. (Exhibit D).

In an effort to overcome the rejections to the then-pending claims, on May 19, 2008, the

Applicant narrowed the claims by amending each occurrence of the claim term "reads" to "audio

reads." In explaining the amendment, the Applicant stated that the claims required "a plurality of

individually-profiled reads for each voice talent comprising a demo reel. As such, audio reads

occur within demo reels." (Exhibit E). The Applicant further explained, "A vocal performances

demo reel usually consists of anywhere from seven to eight to as many as ten to fifteen (or even

more) different pieces of voiced ad copy spliced together in the demo reel." (Exhibit E). Thus,

according to the Applicant's own representations to the U.S. Patent Office, "audio reads," as the

term is used in the claims, are reads which are derived from a longer recording including

multiple different pieces of copy spliced together. In response to the amendments and these

representations, the U.S. Patent Office allowed the ’548 Application to issue as the ’391 Patent.

       23.     Even if breaking down a demo reel into audio reads comprised an improvement

over searching through entire demo reels, under the methods and systems claimed in the ’391

Patent, the businesses nevertheless disadvantageously have to search through multiple audio

reads (i.e., demo reel segments) of pre-recorded, largely irrelevant content.

       24.     On December 19, 2018, more than a decade after the ’391 Patent was issued by

the United States Patent and Trademark Office and more than thirteen years after Voices.com

launched its business, MediaZam, through its counsel, sent Mr. Ciccarelli, CEO of Voices.com, a

letter alleging that MediaZam was owner by assignment of the ’391 Patent and that aspects of

Voices.com’s activities were similar to the claims and disclosures of the ’391 Patent.




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        25.     On September 30, 2019, Voices.com, through its counsel, responded that there

were significant issues with the validity of the ’391 Patent and that Voices.com did not infringe

the ’391 Patent.

        26.     On October 14, 2019, through its counsel, MediaZam asserted, without any

detailed analysis, that it “remain[ed] convinced” that Voices.com infringes at least Claims 20,

33, 34, 36, and 42 the '391 Patent and that the ’391 Patent would survive any challenge to its

validity.

        27.     On November 8, 2019, through its counsel, Voices.com repeated its view that it

does not infringe any of the claims of the ’391 Patent.

        28.     On February 6, 2020, MediaZam, though its counsel, asserted that Voices.com

infringes at least independent claims 20, 33, 34, 36 and 42 of the ’391 Patent and that if the

parties cannot “engage in reasonable discussions toward a mutually acceptable license,

MediaZam is prepared to proceed with litigation.” (Exhibit B).

                                            COUNT I
                 Declaratory Judgment of Non-Infringement of the ’391 Patent

        29.     Voices.com incorporates by reference the allegations of Paragraphs 1 through 28

as if fully set forth herein.

        30.     There is a substantial and continuing controversy between Voices.com and

MediaZam and a declaration of rights is both necessary and appropriate to establish Voices.com

does not infringe any claim of the ’391 Patent.

        31.     Voices.com, including its online marketplace services, does not and has not

directly infringed the ’391 Patent under 35 U.S.C. § 271(a), either literally or under the Doctrine

of Equivalents because, inter alia, Voices.com does not create, host or provide access to "audio

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reads", as that term is used in the '931 Patent. In particular, Voices.com does not arrange demo

reels comprising multiple audio reads into individual audio reads. If a voice talent using the

Voices.com services were to upload a recording comprising multiple different vocal

performances in one continuous recording—which, again, is not Voices.com’s business model—

that would remain one continuous recording. Nothing is broken down into individual "audio

reads," and there is no means offered by Voices.com to identify, distinguish or separate

particular "audio reads" within such a recording to facilitate individual playback. Further, if a

voice talent uploads a recording that comprises a single vocal performance, or a vocal sample

based on a provided script, that is also not an "audio read" as claimed in the '391 Patent, because

that sample or single performance was not derived from a larger demo reel comprising multiple

different vocal performances.

       32.     Liability for either active inducement of infringement under § 271(b) or for

contributory infringement under § 271(c) depends on proof of direct infringement. There is and

can be no indirect infringement without an act of direct infringement. Because neither

Voices.com and its online marketplace services nor the customers that utilize its service directly

infringe any claims of the ’391 patent, there also can be no indirect infringement under 35 U.S.C.

§§ 271(b) or (c).

       33.     Voices.com, including its online marketplace services, does not and has not

induced infringement of the ’391 Patent under 35 U.S.C. § 271(b), either literally or under the

Doctrine of Equivalents.

       34.     For these same reasons, Voices.com, including its online marketplace services,

does not and has not contributorily infringed the '391 patent under 35 U.S.C. § 271(c), either

literally or under the Doctrine of Equivalents.

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                                            COUNT II
                    Declaratory Judgment of Invalidity of the ’391 Patent

       35.     Voices.com incorporates by reference the allegations of Paragraphs 1 through 34.

       36.     The ’391 Patent is invalid under the Patent Laws of the United States of America,

35 U.S.C. § 1 et. seq., including but not limited to 35 U.S.C. §§ 101, 102, 103, and/or 112.

       37.     The claims of the ’391 Patent do not recite any improvements in the operations of

computers or computer networks themselves. Instead, the claims recite abstract ideas

implemented on generic computers. For at least these reasons, the claims of the ’391 Patent are

invalid under 35 U.S.C. § 101.

       38.     The ’391 Patent admits that certain aspects of project-centric voice talent

auditioning were in the prior art. For example, the ’391 Patent admits that "current industry

practice" included uploading audition audio files to a project:

       [T]he current industry practice involves the producers using voicebank(dot)com
       to submit audition projects to the voicebank(dot)com system. These projects
       include the actual script to be read by the talent and deadlines. The agent may
       then intercept these scripts, call their talents to read them and record the talents
       in a recording studio normally located within the talent agency. The audition
       audio files are then uploaded to the voicebank(dot)com system (i.e., Website)
       and posted to the producer's project, where producers will audition the
       uploaded reads.

Exhibit A at column 25, lines 37-46 (emphasis added). Thus, there was nothing novel or non-

obvious concerning uploading individual reads to an online service at the time of the purported

invention of the ’391 Patent.

       39.     Inexplicably, in an Information Disclosure Statement dated September 29, 2005,

Applicant represented to the U.S. Patent Office that "voicebank(dot)com" presented "only reel




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demos," without mentioning the audition audio file submissions that is admitted prior art in the

specification. (Exhibit F).

       40.     Moreover, the prior art includes numerous examples of profiling audio and audio-

visual content and making such content individually accessible through a search. For example,

when Apple launched the iTunes Web Music Store on April 28, 2003, songs were individually

profiled, and users could search the entire music store to locate any song by title, artist or album.

Users could listen to free 30-second previews of any song in the store.

       41.     It also was known to index content within a longer recording. U.S. Patent No.

7,292,979, for example, discusses applying software tags to archives of content stored by

television, radio, and news production facilities. The software tags contained descriptors about

the archived audio or video data in order to assist searching through and finding a desired piece

of information in the volumes of material. This prior art reference points out disadvantages of

manually generating software tags for the content, and then discloses an automated process for

indexing audio and audio/video content.

       42.     In the field of online voice talent services, as early as April 24, 2003,

VoiceModels.com encouraged and provided the ability for voice talent to upload multiple

separate voice samples (eschewing the "demo reel" format), going so far as to suggest that voice

talent make their first sample from the text of the background information in their profile. The

Applicant for the ’391 Patent disclosed the existence of www.voicemodels.com in its

Information Disclosure Statement, but failed to provide the web pages disclosing that website's

ability for voice talent to upload multiple separate voice samples.

       43.     Adapting such known techniques to voice talent demo reels is not inventive. For

at least these reasons, the claims of the '931 Patent are invalid under 35 U.S.C. §§ 102 and 103.

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                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Voices.com respectfully requests judgment against MediaZam

as follows:

        A.    Declaring that Voices.com does not infringe any claim of the ’391 Patent;

        B.    Declaring that each claim of the ’391 Patent is invalid;

        C.    Enjoining MediaZam and those in privity with MediaZam from asserting the ’391

Patent against Voices.com and Voices.com’s representatives, agents, subsidiaries, vendors, and

customers;

        D.    Finding that this is an exceptional case under 35 U.S.C. § 285 and awarding

Voices.com the costs and expenses of this litigation, including reasonable attorneys’ fees and

disbursements;

        E.    Awarding Voices.com its costs and prejudgment interest in this action; and

        F.    Awarding Voices.com such other and further relief as the Court may deem just

and proper.

                                JURY TRIAL DEMANDED

        Pursuant to Fed. R. Civ. P. 38, Voices.com demands a trial by jury on all issues triable

of right by jury.




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 Dated: February 21, 2020              Respectfully submitted,

                                           s/James A. Friedman
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